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  IT IS ORDERED as set forth below:



  Date: November 18, 2019
                                                    _____________________________________
                                                                James R. Sacca
                                                          U.S. Bankruptcy Court Judge

 _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                )                   CHAPTER 11
                                      )
QUENTIN ALEXANDER STEPHENS,           )
                                      )                   Case No. 16-71479-JRS
      Debtor(s).                      )
_____________________________________ )

                    ORDER AND NOTICE OF STATUS CONFERENCE

         The above styled bankruptcy case is before the Court.
         PLEASE TAKE NOTICE that a status conference will be held in Courtroom 1404,
United States Courthouse, Richard Russell Federal Building, 75 Ted Turner Drive, S.W.,
Atlanta, GA, at 2:00 P.M. on the 3RD day of December, 2019.


                                        END OF ORDER
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